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                                                                              United States Bankruptcy Court
                                                                                  Southern District of Texas
                       UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF TEXAS                                  ENTERED
                                                                                 November 09, 2021
                                                                                  Nathan Ochsner, Clerk
In Re: Dean Foods Company and Dean
Hawa Debtor
                                                  Case No.: 19−36314
                                                  Chapter 11
Daniel H. Golden
     Plaintiff(s)
vs
Aramark Services, Inc.
     Defendant(s)
                                                  Adversary No.: 21−04103


  ORDER REGARDING THE EXCHANGE OF EXHIBITS AND WITNESS
LISTS IN ALL CONTESTED MATTERS AND ADVERSARY PROCEEDINGS
     1.       Counsel representing parties in all contested matters and adversary
proceedings shall review and comply with BLR 9013−2 − Exchange of Exhibits,
Exhibit Lists and Witness Lists in All Contested Matters and Adversary Proceedings.
    2.   ALL PARTIES ARE ADVISED THAT THE FAILURE TO TIMELY
COMPLY WITH THIS ORDER WILL BE GROUNDS FOR THE DENIAL OF THE
ADMISSION OF ANY OR ALL EXHIBITS AND THE EXCLUSION OF WITNESS
TESTIMONY.
       3.      All hearings are evidentiary unless specifically ordered otherwise.
       It is so ORDERED.
       Signed and Entered on Docket: 11/9/21.
